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                                                                              May 23, 2022
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Sanket J. Bulsara, U.S.M.J.
225 Cadman Plaza East
Courtroom 324N
Brooklyn, NY 11201-1804

       Re:     Macas v. Alex’s Auto Body 1 Inc., et ano.
               Case No.: 1:18-cv-7184 (RJD) (SJB)
               MLLG File No.: 120-2019_____________

Dear Judge Bulsara:

       This office represents the Defendants in the above-referenced case. See Docket Entry 17.
Defendants write with Plaintiff’s counsel to provide a status update on settlement pursuant to this
Court’s April 28, 2022 status conference minute entry and Order.

        On May 2, 2022, Plaintiff retrieved his tools. On May 23, 2022, Defendants provided – at
Plaintiff’s request on May 4, 2022 – a revised settlement agreement. Defendants respectfully
request that the time be utilized at tomorrow’s conference to resolve any questions Plaintiff may
have and, assuming Plaintiff is so amenable, having Plaintiff sign the agreement in open court.

       Defendants thank this Court for its time and attention to this case.

Dated: Lake Success, New York
       May 23, 2022
                                             Respectfully submitted,

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